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Commission proposed to examine restoring competency to those found incompetent to
                                stand trial in NH

                            Mental health advocates say changes to system are long overdue


                                               Updated: 5:51 PM EST Feb 7, 2024

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                                                   Hannah Cotter f
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CONCORD, N.H. — A push is being made in Concord to improve the^’^^^WOftare for people in New Hampshire with severe mental illness who
have been deemed incompetent to stand trial.


Lawmakers are considering a bill that would create a commission to oversee competency restoration.




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The commission would consist of representatives from the legislature,the Department of Corrections, the judicial branch and more to come up
with improvements over what some call outdated practices and standards.


Forensic psychologists and mental health advocates said the need for reform is urgent.


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"I've been doing competency evaluations for 8 1/2, almost nine years now," forensic psychologist Jim Bomersbach said. "And this needed to get
done when I first got here. When I first got here, it needed to get done 10 years before that."


Lawmakers are proposing creating a commission that would review existing statutes and current needs in the state and work to come up with
improvements, including to the system of care for people with severe mental illness who have been found incompetent to stand trial and coming
up with a plan for restoration - a process advocates said doesn't currently exist.




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"Essentially, if somebody is not competent to stand trial, the courtjust says,'Go get restored. Come back in a year,"' Holly Stevens, director of
public policy for NAMI-New Hampshire,said. "And what we've found is that there are a lot of folks in New Hampshire that do not get restored.
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 The competency rate for New Hampshire restoration is about half that of what the national average is.'


 Erin Creegan, general counsel for the judicial branch,said the courts would welcome new guidance.


 "The courts implement the laws that are written,so if the legislature wants to give us a more updated direction, a more specific direction, we're
 always happy to receive that," she said.


 There are also concerns that some of the language, practices and standards are outdated. Lawmakers said other states have been working to
 reform their systems.


 "There's new ideas floating around. Different states have implemented them," state Rep. Mark Pearson, R-Rockingham,said."We want to see
 what they've done and how that worked for them and see what might work here in New Hampshire."


 Stevens said that nationwide, more than 80% of people found incompetent to stand trial have had their competency restored and can return to
 court. In New Hampshire,only about 44% were restored in 2019.

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 NEXT STORY
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InDepthNH.org             (https://indepthnh.org/2024/02/08/ex-c0rrecti0ns-0ff1cer-faces-murder-charge-in-death-0f-secure-psychiatric-
unit-patient/)




                           COURTS & CORRECTIONS

                           Ex-Corrections Officer Faces Murder
                           Charge in Death of Secure
                           Psychiatric Unit Patient
                           By Q|Nancy West# February 8, 2024




Former corrections officer Matthew Millar's booking photo


                           By NANCY WEST,InDepthNH.org

                           CONCORD - A former corrections officer has been charged with second-degree murder for
                           allegedly causing the death of a patient at the Secure Psychiatric Unit at the men’s prison in
                           Concord.

                           Former Corrections Officer Matthew Millar, 39, of Boscawen has been arrested in
                           connection with the death of Jason Rothe,50. Millar is being held without bail and a
                           probable cause hearing is slated for Feb. 14 at 10 a.m. in Concord Circuit Court.

                           The charge alleges Millar recklessly caused Rothe’s death under circumstances manifesting
                           an extreme indifference to the value of human life, by using his arms and/or legs to apply
                           force and pressure to Rothe’s torso and/or neck,thereby causing his death by combined
                           traumatic(compressional) and positional asphyxiation, Formella said in a news release.

                           The police affidavit nittns://indeDtluih.org/wn-coDtent/iiDlo«’Kls/2024/02/Statement-of-Probahlc-Cause.pdfl

                           alleges that on April 29, 2023,six corrections officers in the Secure Psychiatric Unit engaged
                           in a use of force incident that resulted in Rothe’s death. The affidavit is here:
                           https://indeDthnh.org/wD-content/uDloads/2024/o2/Statement-of-Probable-Cause.pdf
                           fhttns://incicDthnh.org/wn-C(>ntcnt/unloads/202d/o2/Statcmcnt-of-Frobablc-Causc.ndf)


                           Formella said he doesn’t anticipate any other charges against any of the other corrections
                           officers involved in this incident.
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  In 2oig, Rothe was committed to New Hampshire Hospital,the state’s psychiatric hospital,
   as he was deemed incapable of taking care of himself, according to the police affidavit filed
   in the case.

   On Aug. i6, 2022, New Hampshire Hospital sought a court order to transfer Rothe to SPU
   due to likelihood of him causing harm to himself and others. From the day of his transfer
   until the day of his death, Rothe was housed and treated at SPU. He also had a colostomy
   bag which collected stool after a self-inflicted injury, the affidavit said.

   Rothe’s mental health diagnosis was blacked out of the police affidavit.

   SPU is a secure unit at the men’s prison for mentally ill individuals who are deemed too
   dangerous to be housed at the New Hampshire Hospital even if they didn’t commit a crime
   or individuals convicted of crimes who require additional mental health-related services
   beyond the capabilities of the general prison setting.

   Rothe’s is the third suspicious death there since 2015.

   Charles Mealer was 47 when he committed suicide at the Secure Psychiatric Unit on June
   22,2015. The cause of death was suicide due to acute amitriptyline intoxication, an
   antidepressant that was prescribed to Mealer, according to a lawsuit filed by attorney Larry
   Vogelman.

   Vogelman said at the time the unit had a problem with residents hoarding their prescribed
   drugs. Mealer had been transferred to the unit several times since he was sentenced to the
   prison in 2011 on two counts offelonious sexual assault. The lawsuit was settled for
   $75,000.

   Vogelman also represented the family of Phillip Borcuk, 34, a mentally ill man from Cornish
   that he says died from positional asphyxiation from being taken out of the Residential
   Treatment Unit on his stomach Dec. 6. 2017, with his hands cuffed behind his back. The
   RTU is part of the same building on the grounds of the men’s prison upstairs from SPU.

   Shortly after Rothe’s death, New Hampshire State Police in conjunction with the New
   Hampshire Department of Justice conducted an investigation into the facts and
   circumstances surrounding his death.

   On October 25, 2023, Dr. Mitchell Weinberg of the Office of the Chief Medical Examiner
   determined that Rothe’s manner of death was homicide and that the cause of death was
   combined traumatic (compressional) and positional asphyxiation.

   “The investigation produced evidence that Matthew Millar applied downward pressure with
   his knee and arms onto Mr. Rothe’s torso/neck area for several minutes while Mr. Rothe
   was handcuffed and faced down on the floor, contrary to DOC’s use-of-force protocols and
   training.

   “Matthew Millar received training on asphyxia and use offorce which detailed the risk of
   death inherent with the specific manner of restraint he applied,” the release said.

   Beatrice Coulter,co-founder with Wanda Duryea of Advocates for Ethical Mental Health
   Treatment, responded to the arrest. Coulter and Duryea have been longtime critics ofSPU.

   “We have known for a very long time that the Secure Psychiatric Unit(SPU)is a dangerous
   place. Egregious tragedies such as this occur because they are allowed to,” Coulter said.
   “Until there is a commitment by state actors and the Legislature this culture will persist.
   SPU is a prison with prison problems. The continued tormented logic to represent it as
   anything else is simply absurd gaslighting. How many more have to die in SPU?”

   The state Department of Corrections also issued a news release saying the corrections
   officers still employed were initially placed on leave but returned to work after an
   administrative hearing, including Millar.
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  The separate statemen fhttns://inder>thnh.org/wD-content/iir)loads/2024/o2/NHDOC-StatemeDt-folio\\ing-
   Arrest-of-Matthew-Millar-i.pdf)t detailed the actions taken after Rothe’s death. See full DOC
   release here: httDs://indeDthnh.org/wD-content/uDloads/2024/o2/NHDOC-Statement-
   following-Arrest-of-Matthew-Millar-i.Ddf fhttPs://indcDthnli.org/\M)-
   conteiit/iiDloads/2024/o2/NHDOC-Statemcnt-follo\nng-.'\iTcst-of-Mattlie\v-Millar-i.ndn

   “Following the completion of the Department’s administrative review, the officers were
   returned to full duty based on information available to the department at that time.

   “Based on new information made available to the department today, Commissioner(Helen)
   Hanks has directed another administrative review and placed the officers on administrative
   leave.”

    Since Dec. 13, 2023, Millar is no longer employed with the Department of Corrections.

   “The alleged actions of Mr. Millar ultimately contributing to or causing the death of Mr.
   Rothe is completely unacceptable, is contrary to Department of Corrections training, and is
   not representative of our department or the rest of the Department’s staff. The Department
   is firm in its stance that people who abuse their authority should face the full prosecution of
   the law.”

   Commissioner Hanks said in the release: “I personally extend my sympathies to the family
   and loved ones of Mr. Rothe. The allegations released today are reprehensible and do not
   align with my expectations of staff, nor do they align to the Department’s mission and
   responsibilities.

   “The Department prides itself on the dedicated staff that provide exemplary humane care in
   pursuit of our mission. Everyday New Hampshire Department of Correction’s staff commit
   themselves to doing difficult work in a challenging environment.”
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                                     ATTACHMENT A
                                     Statement of Probable Cause



r, Trooper Kevin P. Pratt being duly sworn, do depose and say:



1. I am a Trooper with the New Hampshire State Police assigned to tlie Major Crime Unit based out of
   Concord, New Hampshire. I have been employed by tlie Department of Safety, Division of State
   Police since December 2015.1 hold a Bachelor’s Degree in Psychology with a Minor in History from
   Boston College in Chestnut Hill, Massachusetts, from which I graduated in May 2014.1 was certified
   as a full-time police officer in April of 2016 in the State of New Hampshire as a member of the 169“’
   Police Academy through New Hampshire Police Standards and Training. I have held the position of
   Detective within the Major Crime Unit since August of2021, and prior to that, served as the TDY
   (Temporary Duty Assignment) Detective for the New Hampshire State Police-Troop C beginning in
   March 2020. While holding both positions, I have been involved in a number of homicide
   investigations in a variety of capacities. Further, since my time in the Major Crime Unit began, I have
   held the position of New Hampshire State Police- State Prison Liaison, a role maintained by the
   Major Crime Unit which exists to provide investigative support and guidance to the New Hampshire
   Department of Corrections, especially as it pertains to the investigation of in-custody deaths in the
   New Hampshire Prison system. While in this role, I have been called to investigate multiple in-
   custody deaths and have also worked to assist DOC investigators on other cases unrelated to death
   and/or homicide.

2. The information set forth below is based upon my personal involvement in the investigation into the
   death of Jason ROTPIE                      on Aprir29,2023, at the New Hampshire Men’s Prison-
   Secure Psychiatric Unit(“SPU”).in Concord, New Hampshire as well as discussions with other
   members of law enforcement involved in said investigation.

3. On April 29, 2023,1 received a call from Lieutenant John Sonia of the New Hampshire State Police-
   Major Crime Unit requesting that I respond to the New Hampshire Men’s Prison located at 281 North
   State Street in Concord, New Hampshire for a report of an in-custody death. Upon aiTival, I was
   notified that the deceased was identified as ROTHE. Additionally, I was informed that ROTHE was a
   patient who was being housed in SPU, and that he may have died as the result of a use offorce
   incident.

4. On April 29, 2023, and a few days thereafter, members of the Major Crime Unit and I went to SPU
   and collected information and evidence surrounding the use offorce incident. This involved
   preliminary interviews with some corrections officers and reviewing the available video footage. This
   initial investigation revealed that ROTHE was 50 years old and was 5’11”, 244 pounds at his time of
   death. ROTHE had been                 with

                                                                                              \. In 2019,
   he was committed to NPIH as he was deemed incapable oftaking care of himself. On August 16,
   2022, New Hampshire Hospital sought a court order to transfer ROTHE to SPU due to likelihood of
   ROTHE causing harm to liimself and/or others. From the day of his transfer until the day of his death,
   ROTHE was housed and treated at SPU. ROTHE also had a colostomy bag which collected stool
   after a self-inflicted injury.
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5. SPU is a secure unit for mentally ill individuals who are deemed too dangerous to be housed at NHH
    or individuals convicted of crimes who require additional mental health-related services beyond the
    capabilities ofthe general prison setting. The goal of SPU is to have residents/patients graduate back
    to the general population of NHH or DOC. At the time of ROTHE’s death, he was in the Infirmary
    Ward, which is the most restrictive Ward in SPU. Each Ward within SPU has a day room. Inside the
    infirmary’s day room where ROTHE was located at the time of his deatli ai-e cement/metal seats and
    tables bolted to the floor. There are no electronics or other loose objects allowed inside the room, as
    they would be considered dangerous for those housed on the Infirmary Wai'd.

6. Further investigation into the incident revealed that on April 29,2023 (Saturday), the following
    Corrections Officers(“CO”) and staff were working in SPU:(1) CO Matthew MILLAR(DOB:
    11/11/1984);(2) Cpl. Lesley-Ann COSGRO (the officer in charge for the shift);(3)CO Paul
    SANCHEZ;(4)RN Jemiifer FITZGERALD;(5)CO Maria BISSONNETTE;(6)CO Josephine
    MCDONOUGH;(7) CO Ian RETNHOLZ; and(8)Cpl. Timothy WRIGHT. On that day, CO
    REINHOLZ was assigned to the control room. The control room sits in the middle of SPU and allows
    the CO working inside to unlock doors and observe most of SPU both through the windows that
    surround the control room and via a number of cameras placed throughout the units. The CO in the
    control room cannot leave that post for any reason. CO REINHOLZ was assigned to the command
    center because he was on light duty status due to an injury.

7. At 9:03 AM on April 29, 2023, CO SANCHEZ brought ROTHE to the Infirmary Ward day room.
    Generally speaking, ROTHE was only allotted one hour to spend in the day room, but most COs stated
    in interviews and during testimony that they would allow inmates to stay longer if no other patients
    requested time. ROTHE had been in the day room for longer than his allotted time, but all COs testified
    they were not aware of another inmate who needed to use the day room on April 29, 2023, prior to the
    use offorce incident.

8. At approximately 12:30 PM CO MILLAR called over the radio that ROTHE needed to be extracted
    from the day room. Cpl. COSGRO and CO MCDONOUGH responded to the day room to attempt to
    de-escalate the situation and persuade ROTHE to exit the day room willingly. By the time Cpl.
    COSGRO and CO MCDONOUGH arrived, CO MILLAR had left. Cpl. COSGRO and CO
    MCDONOUGH then tried to convince ROTHE to come out by giving him snacks. During this time
    ROTHE was experiencing some delirium, believing he was being starved to death and had not eaten in
    weeks. After 10 minutes Cpl. COSGRO made the decision that ROTHE would be extracted from the
    room by force. According to Cpl. COSGRO,in past instances ROTHE had come out willingly after a
    minor show offorce.

9. Limited video footage exists ofthe incident. The initial investigation relied on statements from various
    witnesses who were present during the altercation that took place between coiTections officers and
    ROTIiE.

10.Pursuant to DOC policy, prior to any use offorce incident, and prior to extracting a patient or inmate
   from a cell the COs are supposed to form an “extraction team,” A member of the extraction team must
   be selected to record the incident with a handheld camera. On April 29, CO BISSONNETTE was
   determined to be the team member responsible for holding the camera and documenting the event. CO
   BlSSONNETTE’s footage of the incident lasts approximately 1 minute, 16 seconds, and shows the
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   extraction team preparing to enter the day room at what was later determined to be 12:51 PM.In this
   footage, ROTHE can be seen standing behind the door to the day room and appears to have taken a
   fighting stance (behind the door), and one of his fists is raised. Cpl. WRIGHT can be seen holding a
   plexiglass shield and Cpl. COSGRO can be seen readying a Taser. No COs arc seen wearing any
   protective gear in the video. Several seconds into the video, the door to the dayroora is opened by CO
   MCDONOUGH and the officers rush in. ROTHE immediately pushes Cpl. WEIGHT’S shield down
   and places a hand behind Cpl. WRIGHT’s head. Cpl. WRIGHT drops the shield and begins to strike
   ROTHE repeatedly on his head and neck area. CO MCDONOUGH is seen grabbing one of ROTHE’s
   legs which causes him to drop to the floor (fall). Cpl. WRIGHT is then seen shaddling ROTHE’s chest
   and punching his head. ROTHE is seen rolling from his back onto his stomach with his hands to the
   side, referred to as the prone position. He actively resists detention. The camera is then placed on the
   floor, and the video ends.


11.Later investigation revealed that the handheld digital camera utilized in this incident was equipped
   with a fold-out viewfinder which allowed the person filming to view the content being filmed on the
   screen. If that viewfinder is folded back into the body of the camera, the camera immediately powers
   down and stops filming. CO BISSONNETTE stated that she placed the camera on the floor of the day
   room to assist in the altercation with ROTHE,at which point the viewfinder was unintentionally
   closed and the camera stopped filming.


12.Within SPU there are several cameras positioned across the various wards, to include camera views
   of the different day rooms. However, there is not a camera that covers the interior of the SPU
   infirmary ward day room. As such, the handheld digital camera was the only one capable of capturing
   what occurred during the altercation between the corrections officers and ROTHE. Once the handheld
   camera stopped filming, 1 minute and 16 seconds into the interaction, the next time ROTHE ean be
   seen on camera is approximately 8 minutes later at 12:59 PM,at which point he is wheeled into the
   hallway of the infiimary ward on a stretcher. ROTHE can be seen face down in the prone position
   handcuffed behind his back and strapped to the stretcher. ROTHE does not appear responsive,is not
   moving, and shows no other signs of life at that point.

13.In the 8 minutes between the end of the handheld camera footage and the next time ROTHE is visible,
   corrections officers and staff were captured on a camera in the hallway entering and exiting the day
   room. A summary of those movements is as follows:


            12:52 PM- CO MILLAR enters the infirmary day room
            12:55 PM- RNFITZGERALD enters the Infirmary Ward(andper later intennews, the day
            room)
            12:55 PM- CO MCDONOUGH exits the day room (per later interviews, CO MCDONOUGH
            stated that she went to the control room to acquire shacklesfor ROTHE’s legs)
            12:55 PM- RNFITZGERALD exits the Infirmary Ward
            12:56PM- CO BISSONNETTE exits the day room and infirmary ward (per later interviews,
            CO BISSONNETTE was operating the elevator to allow additional officers entry into SPU to
            assist)
            12:56PM- CO SANCHEZ exits the day room, and he and RN FITZGERALD retrieve a
            stretcherfrom a storage closet
            12:58 PM- RN FITZGERALD enters the day room with the stretcher
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14.Based on video obtained during the investigation, at 12:59 PM COs can be observed moving ROTHE
   on the stretcher from the day room to another room known as the ‘four-points restraint room,’ within
   which there is a four-point resti'aint table upon which inmates and patients ai'e placed and each of
   their arms and feet are shackled as a method of restraint. Officers transfer ROTHE from the stretcher
    to the four-points table and begin to shackle him. ROTHE remains face down,and at no point in this
    process displays any signs of life. Approximately 1 minute and 30 seconds after ROTHE is wheeled
    into the restraint room and 10 minutes after the altercation with ROTHE began, at 1 ;01 PM,Cpl.
    WRIGHT can be seen checking ROTHE for a pulse. At this point officers roll ROTHE onto his back
    on the table and Cpl. COSGRO begins performing a sternum rub, a tecluiique often used on
    individuals who have overdosed. Almost simultaneously, CO MILLAR begins pumping ROTHE’s
    legs in a manner that was described in one interview as “bicycling.” RN FITZGERALD,who had
    exited the room moments before, returns with an AED and attaches it to ROTHE. Investigators were
    later informed that the AED reported that a pulse had not been detected and as such, no shock was
    administered. At this point, ROTHE is moved from the table to the floor of the restraint room and CO
    MILLAR begins performing CPR on ROTHE.

15.CPR was performed on ROTHE continuously by both officers and Concord EMS personnel who
   arrived on scene until they departed by ambulance with ROTHE at 1:44 PM. ROTHE was transported
   to Concord Hospital where he was pronounced deceased.

16.In the days and months that followed ROTHE’s death, an investigation was conducted during which
   parties were interviewed. Grand Jury testimony was collected, all available video footage from April
   29, 2023, was reviewed, Depaifmeiit of Corrections policies and procedures, personnel files of the
   involved parties, and any and all other records pertaining to the incident were obtained. The involved
   officers completed statements concerning tlie use of force and at a later date several officers
   completed revised statements containing additional information. Given these facts, a number ofthe
   involved officers provided up to four separate statements pertaining to the death of ROTHE over the
   span of the investigation. The content of the paragi'aphs that follow were compiled from these
   statements in order to create a clear picture of how ROTHE died.

17.CO MCDONOUGH wrote an initial statement following the incident. Later, at the request of the
   Commissioner of the Depai'tment of Corrections Helen HANKS, she wrote a revised statement, She
   also agreed to a recorded interview with investigators and testified before the Grand Jury. CO
   MCDONOUGH recalled that during the altercation she ordered ROTHE to stop resisting and told him
   to release his hold of the handcuffs. She said that he told them that “[he could not] open [his] hand ..
   .” and that he could not let the handcuffs go. At tliat time, five officers were on top of his various body
   parts. She observed Cpl. WRIGHT striking Rothe’s head and face, and Cpl. COSGRO administering
   repeated ‘drive-stuns’ with the Taser. It should be noted that a drive-stun is an application of the Taser
   which utilizes an electric shock to obtain compliance through pain. It does not achieve the neuro
   muscular incapacitation which is the goal of deploying the prongs ofthe Taser fi-om the Taser cartridge.
   At one point during the altercation CO MCDONOUGH felt what she believed was a shock from the
   drive-stuns. Towards the end of the struggle CO MCDONOUGH left the room to obtam leg shackles
   from the SPU control room. When she left the day room, she recalled that ROTHE was face down with
   CO MILLAR at ROTHE’s right shoulder area, and that MILLAR “could have been” holding ROTHE
   down. She also mentioned that Cpl. WRIGHT may have been holding ROTHE’s head or shoulder down
   on the side opposite CO MILLAR. She recalled (not with 100% certainty) that CO MILLAR and Cpl.
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    WRIGHT were kneeling down, both applying pressure to ROTHE’s shoulder and arms. CO
    MCDONOUGH noted that ROTHE was face down and had already been handcuffed with his hands
    behind his back. CO MCDONOUGH recalled that ROTHE was still moving as she left the room (as
    stated above, CO MCDONOUGH left the day room at 12:55 PM, and returned within the minute).
    When she came back into the day room with the leg shackles she did not specifically recall the locations
    of the officers inside the room, but did observe that ROTHE was not moving or speaking. CO
    MCDONOUGH applied tlie leg shackles to ROTHE,and once they moved Rotlie to the restraint room,
    she was the first person to notice he was not breathing.


18.FITZGERALD is a registered nurse with a certification in psychology who was assigned to SPU at the
   time ofROTHE’s death. She was the only nurse working on April 29,2023. She gave an interview and
   testified before the Grand Juiy. FITZGERALD testified that she was alerted to the use offorce incident
   by CO REINHOLZ. When she arrived at the day room, she observed officers “catching their breath”
    and ROTHE lying in the prone position. Although she observed officers surrounding ROTHE she could
    not recall if any correction officers were touching him. During her time in the day room ROTHE did
    not resist, he did not speak, or move. She did not perform an examination of ROTHE in the day room
    because she believed he was playing “opossum.”


19.Cpl. COSGRO,similar to CO MCDONOUGH,submitted an initial statement and a follow up statement
   concerning the incident. She also participated in an interview with investigators and provided testimony
   before the Grand Jury. Cpl. COSGRO was the only officer that was able to clearly observe the actions
   of each individual during the use-of-force incident She was the shift supervisor and officer-in-charge
   on April 29, 2023. Her role during the extraction was to observe and direct per Department of
   Corrections policy. Prior to the extraction she observed an argument between ROTFIE and CO
   MILLAR. She said that “[t]hey started arguing so[CO] Millar came over the radio and said that we []
   would need to [] get him out ofthe room,cuz he’s being argumentative, and he’s not cooperating.” Cpl.
   COSGRO described CO MILLAR as “agitated” during the interaction and said that he was not in a
   position to make demands to remove patients. She stated that CO MILLAR wanted to go into the room
   immediately to extract ROTHE; but she told CO MILLAR that she would talk to him first because her
   team had a good rapport with him.


20.Cpl. COSGRO stated that prior to the extraction she gathered the officers, and that when they entered
   the dayroom “no one had an idea of what they were supposed to do.” She acknowledged that she did
   not respond appropriately to the incident, in that, she provided an immediate action response when the
   situation with the Victim called for a delayed action response. Pursuant to DOC’s policy and procedure
   directives, officers have two options when responding to situations that may require using physical
   force against an individual in their custody and supervision.

                      (1) Immediate action: this action is necessary when the actions of the
                          individual are such that a swift and sudden responsefrom staffis needed
                          to take control of a potentially dangerous situation. Immediate action
                          may become necessary in an assault situation to prevent escape, self-
                          harm, or in self-defense.

                      (2) Delayed action: this action is always desired over immediate action,
                          although it is certainly not always possible. When action is delayed.
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                          several benefits surface that help create a peaceful and safe resolution
                          to the potential use offorce situation.


    The procedures detail the benefits of using delayed action responses and notes that “[t]he OIC
    should be aware that frequently time is on tlie side of staff, especially where the individual is
    secured in a dayroom or a cell.”


21.Cpl. COSGRO was able to provide information on the actions of each officer along with their
   positions on and around ROTHE tlu-oughout the duration of the incident. Cpl. COSGRO has
   maintained in her various statements to law enforcement and before the grand jury that during the
   incident, the COs were able to restrain ROTHE and that after he was restrained, CO MILLAR had a
    knee pressed into ROTHE’s upper-back for an extended period of time. Cpl. COSGRO explained that
    initially she attempted to tase ROTHE but was unable to obtain an adequate connection to achieve
    neuromuscular incapacitation. She stated that when she failed in her attempts to tase ROTHE,she
    attempted to resfrain him by kneeling on his left ami. While she controlled ROTHE’s left arm with
    her knee, Cpl. WRIGHT and CO MCDONOUGH each had control of one of ROTHE’s other limbs.
    Once ROTHE was handcuffed, Cpl. WRIGHT and CO MCDONOUGH stood up and moved away
    from ROTHE. Cpl. COSGRO also removed herself from ROTHE’s arm; however, CO MILLAR
    remained on top of him, with his knee positioned on ROTHE’s upper-back and neck area. Once the
    other officers stood up, CO MILLAR informed them that ROTHE was urinating and warned them to
    back away. At this point, ROTHE provided no resistance to the restraint. Still, CO MILLAR
    continued to restrain him with his knee firmly pressed against ROTHE’s upper-back and neck area.
    According to Cpl. COSGRO,CO MILLAR restrained ROTHE with “all his weight,” For the duration
    of the time that CO MILLAR knelt on ROTHE unassisted by other officers, Cpl. COSGRO did not
    observe ROTHE moving or speaking.


22.Cpl. COSGRO stated that one ofthe officers, identified during the investigation as CO SANCHEZ,
   was told to get a stretcher, and that while she and the other officers waited for the stretcher to arrive
   CO MILLAR said, “[d]on’t wony Corporal. I’ve got him, He’s not moving,” When the stretcher was
    brought into the day room the officers placed ROTHE on it face down in the prone position. Cpl.
    COSGRO stated that this was the first time she observed CO MILLAR remove his knee from
    ROTHE’s upper-back and neck area. During the transition from the day room floor to the stretcher,
    Cpl. COSGRO stated that ROTHE did not move, resist in any fashion, or speak.


23.Cpl. COSGRO went on to discuss her ti-aining and the training the members ofthe extraction team
   received. She also described the typical extractions and her experience with them. Cpl. COSGRO
   provided the following information in grand jury:


                Q:       You said it wasn ’t a formal extraction. Did all the people involved
                         have experience withformal extractions?
                A:       Yes.
                Q:       Okay. And then you had mentioned that - I believe you said that
                         typically you try to get the restrained inmate up on theirfeet quickly,
                         but it almost sounded as if the gentleman had his knee on the person
                        for an extended period oftime?
                A:       Um~hmm (affirmative response).
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                Q-      Would you say that was longer than protocol?
                A:      Yes.
                Q:       When the person had his loiee on the right side, how long did the
                        patient stop struggling with the knee on there?
                A:      Maybe halfa minute.
                Q--     So, he hadjust- hadjust stopped struggling?
                A:      Yes.
                Q--     So, let me just clarify. While Officer Millar’s Jmee was on Victim‘s
                        back at some point before the stretcher came in, he stopped
                        struggling?
                A:      Yes.


24.CO REINHOLZ provided an initial wi'itten statement regarding his observations during the incident.
   CO REINHOLZ was also brought before the Grand Jury where he provided testimony regarding the
   incident. CO REINHOLZ was stationed in the SPU control room during the incident. He was able to
    obseiwe the comings and goings of officers working on tlie unit through the surveillance system;
    however, his direct view of the incident with ROTHE was obstructed by a staircase. He stated that “it
    was just a pile of bodies” during the incident and that remained consistent throughout the altercation.
    He reported that he, along with other COs, had received specialized training in airway and blood flow
    obstruction in response to the “George Floyd case” between May of 2020 and May of 2021. Based on
    the training, as well as his common sense, he Icnew that downward pressure on the neck or back could
    cause the death of the person the pressure was being applied to. CO REINHOLZ was trained that when
    an individual is laying on their chest with their hands beliind their back, you cannot Icneel on them or
    apply downward pressure on them.


25.Several ofthe cooperating officers described CO MILLAR as agitated in his interactions with ROTHE
   prior to the use offorce incident. He was also characterized as escalating ROTHE’s behavior, creating
   the eventual conflict. This interaction between CO MILLAR and ROTHE was witnessed by Cpl.
   COSGRO. Cpl. COSGRO described CO MILLAR as “agitated” and stated that CO MILLAR
   demanded that they “go in right away to extract him -.” During her Grand Juiy testimony, Cpl.
   COSGRO was asked what CO MILLAR’s demeanor was when he asked her to remove ROTHE from
    the day room. Cpl. COSGRO stated that she observed CO MILLAR arguing with ROTHE and then
    heard CO MILLAR on the radio demanding that they extract him.

26.As discussed above, CO REINHOLZ, who was stationed in the control room, did not have a clear line
    of sight of the dayroom; however, he was able to hear the altercation between CO MILLAR and
    ROTHE prior to the incident. During his Grand Jury testimony, CO REINHOLZ described CO
    MILLAR as being the cause of the escalated confrontation. He also testified, that based on his
    observations, he believed that CO MILLAR should have been removed from additional interactions
    with ROTHE.


27.Once it was discovered that ROTHE was not breathing, surveillance footage captured CO MILLAR
   acting frantic and emotionally overwrought. He is obseiwed kicking the stretcher utilized to move
   ROTHE while leaving the four-points restraint room, as well as punching a door in the hallway with a
   closed fist. One officer who was not present for the use of force incident. Sergeant Christopher
   PELLETIER,stated that he asked CO MILLAR to leave the room while lifesaving measures were being
   performed on ROTHE because of his erratic behavior.
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28.CO MILLAR provided two written statements following the incident. His first written statement was
   submitted two days after the incident with ROTHE took place. Later, after meeting with Commissioner
   Helen HANKS,he provided a revised statement at her request.


29.On May 01, 2023, CO MILLAR submitted his first written statement documenting his involvement in
   the use offorce incident. While the statement is brief and lacks specificity, CO MILLAR admitted that
    during the incident he was on top of ROTHE. He wrote:

        “As soon as I entered the day room,Igrabbed Roth[e]’s right leg to help roll him over. After this
        Roth[e]pulled his hands under him. At this point I moved to assist with his hands. As breachedfor
        his right arm,I used my right leg to give me leverage to move some ofhis weight offto pull the arm
        out. I got his armfree and placed it behind his back and moved my right leg up to his side by the
        elbow to prevent movement asIreached over to his other side and with helpfrom the other officer,
        we pulled his hands together and cuffed him. We then lifted him onto the stretcher.”


30.Several of the responding officers’ Grand Jury testimony included infoiToation regarding revised
   statements that they provided following their meetings with Commissioner HANKS. These meetings
   took place in May and June of 2023. Upon learning of the revised statements, investigators obtained
   copies of all existing revised statements. CO MILLAR wrote a revised statement regarding his
   involvement in the use of force incident. In his revised statement, CO MILLAR documented his
    interaction with ROTHE prior to the use of force incident. He wrote:

        "At approximately 1230 on 04/29/20231, CO. Millar, attempted to talk resident Rothe out ofthe
        infirmary day room. At this point Rothe was in the day room for over an hour and the dayroom
        was needed. With spealdng with Rothe he became angry, started searing[sic] at me, and banged
        the table twice. At this point, to avoidfurther escalation /stopped speaking with him to let him
        calm down and went to report to my OIC in the security office. I notified both Cpl. Wright and
       Cpl. Cosgro who was in the office that Rothe was not cooperating, swearing and that he had been
       banging the table. Isuggested that we may need to roll-in to remove him from the day room. They
       suggested to let CO. McDonough to try and speak with him because she has good rapport with
       him in the past. I agreed and asked ifit was ok to eat while they did this.”

    The statement further documents CO MILLAR’s movements following his initial interaction with
    ROTHE,and how he ultimately became involved in the use offorce incident. In the revised
    statement, CO MILLAR also described entering the day room, observing that the handheld video
    camera was off, taking the camera out of CO MCDONOUGH’S hand, and placing it on the day room
    table. That statement has not been corroborated by surveillance video obtained during the
    investigation or by statements made by other involved officers.


31.Cpl. WRIGHT provided a written statement following the incident. He later agreed to speak witli
   investigators with his attorney present. On August 10,2023, he participated in a recorded interview at
   the New Hampshire Department of Justice. During the interview he provided information that was
   contradicted by other available evidence and statements:(1) that each member of the extraction team
   knew their respective role in the extraction; (2) that the team members were equipped with their riot
   gear prior to entering the dayroom per Department of Corrections policy; and (3) that RN
   FITZGERALD examined ROTHE prior to leaving the day room. Cpl. WRIGHT was inconsistent
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    during the interview and repeatedly retracted previous statements. He was clear, however, that CO
    MILLAR placed his knee on ROTHE’s upper back and held it there to restrain him. Cpl. WRIGHT
    clarified that his own knee was also on ROTHE’s back but for “brief seconds.” He stated that he and
    CO MILLAR placed their knees on ROTHE’s back to “make it so he didn’t move and run away from
    us... At that point,[ROTHE]has control ofhis amis. He could go anywhere he wanted.” Cpl. WRIGHT
    admitted that this was a chaotic event and that he was not able to track the movement and actions of
    the other members of his team.


32.In addition to trainings on the use of force and interacting with inmates and patients suffering mental
   illnesses, tlic officers who responded to the day room to remove ROTHE all received specialized
   trainings specific to use of force and breathing. “One Breath” is a training the officers received which
   exclusively discussed methods to effectively restrain someone without impairing their ability to
   breathe. The training also focuses on signs and symptoms that officers should be aware of when using
   force, and preventative measures that can be taken as they relate to use of force and breathing. “One
   Breath” was utilized as an in-service training by the Department of Corrections, and was mandatory to
   have been completed by officers between January 01 and February 28 of 2021. Per CO MILLAR’s
   DOC training records, he completed tlie “One Breath” training on February 28,2021. The restraint used
   by CO MILLAR, namely kneeing on ROTHE’s back, is expressly, contrary to the “One Breath”
   training; a training that CO MILLAR received, and a training which detailed to him the risk of death
   inherent with this manner of restraint.


33.Investigators from New Hampshire State Police Major Crime Unit interviewed Lt. Miljan Lacmanovic
   who provides training to all recruits at the Police Standards and Training- Corrections Academy
   attended by every individual certified as a connections officer in the State of New Hampshire. He also
   provides annual in-service training to all officers employed by tlie New Hampshire Department of
   Corrections. The training includes refreshers and considerations pertaining to defensive tactics and use
   of force. Lt. Lacmanovic provided a statement to investigators regarding the Gaining provided and
   standards used by DOC. During his meeting with investigators, Lt. Lacmanovic disclosed that the last
   several years of in-service trainings have discussed use of force and breathing. He was provided CO
   MILLAR’s conduct as a hypothetical scenario and asked to opine on whether the force used was
   consistent with current DOC standards and rtaining. Lt. Lacmanovic informed investigators that even
   leaving an inmate in the prone position for an extended period of time is against policy and “against
   common sense.” He stated that he has officers practice the prone position on “each other so they know
   first-hand from being here” that it is bad practice. Lt. Lacmanovic emphasized that leaving someone
   handcuffed in the prone position is “not right” and that an individual should never be placed in the
   prone position after they are handcuffed. Lt. Lacmanovic said that he trains all officers that “when the
   resistance ends, that’s when [the officer should] stop the force,” if the officer does not stop, “that’s
   when it becomes excessive force.”


34.On April 30, 2023, an autopsy ofROTHE’s body was conducted by Deputy Chief Medical Examiner
   Doctor Mitchell Weinberg at the Concord Hospital Morgue. After several months of study and
   examination of both the autopsy findings and case materials provided by investigators to include
   transcripts of interviews and testimony, as well as pertinent video footage, on October 25,2023, Dr.
   Weinberg concluded that ROTHE’s cause of death was “combined traumatic (compressional) and
   positional asphyxia,” and the manner of death was homicide. There were several injuries Dr.
   Weinberg noted which were likely manifestations of tlie struggle. They included:(1) multiple areas of
   bleeding beneath the surface of the upper back, which most likely relate to direct pressure applied to
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    this region of the body during resti-aint;(2) petechial hemorrhages (pinpoint-sized areas of bleeding)
    are present on the forehead, within the mouth, and within the lower respiratory tract. From Dr.
    Weinberg’s report: “[p]ositional asphyxia refers to a situation a person is unable to adequately respire
    due to positioning ofthe body, and prone positioning with the wrists cuffed behind the back is a
    position that may impede respiratory activity. Traumatic asphyxia refers to a type of asphyxia due to
    compression of the torso, such as due to a heavy weight on the chest, or as in this case, due to
    compression of the torso. While I am unable to numerically differentiate the relative contributions of
    these two asphyxial mechanisms, I do believe that their combined effects provide the ultimate
    explanation for death in this case.”


35.In summation, on April 29,2023, at approximately 12:30 PM a verbal altercation took place between
   ROTHE and CO Matthew MILLAR, which resulted in CO MILLAR calling over the radio and
   demanding that ROTHE be removed from the day room. Cpl. Lesley-Ann COSGRO,the officer in
   charge ofSPU on April 29, responded to the day room with CO Josephine MCDONOUGH with the
   intent to de-escalatc the situation and compel ROTHE to leave the day room peacefully. After a
   reported 10 minutes of attempted de-escalation, during which time ROTHE was offered snacks to
   combat the delusion that he was being starved, Cpl. COSGRO determined that they would forcibly
   remove ROTHE from the day room. At 12:51 PM,Cpl. COSGRO,Cpl. WRIGHT,and COs
   MCDONOUGH,BISSONNETTE and SANCHEZ made entry into tire day room and a struggle
   immediately ensued. Notably, CO MILLAR was not a part ofthis initial entry team, having had what
   was described as causing the escalated situation with ROTHE by other officers and leaving prior to
   entry. However, at 12:52 PM in tlie midst of the incident, CO MILLAR entered the day room and
   based on witness accounts and his own statement, placed his knee on ROTHE’s upper-back and neck
   area as a method ofrestraint. According to Cpl. COSGRO,shortly after CO MILLAR placed his
   weight on ROTHE’s upper-back and neck area, all other officers restraining ROTHE removed
   themselves, leaving CO MILLAR as the only officer still applying force. Shortly thereafter estimated
   to be approximately 30 seconds by Cpl. COSGRO,any resistance from ROTHE ceased. Cpl.
   COSGRO also testified that CO MILLAR continued to apply pressure to ROTHE’s upper-back and
   neck area until the stretcher arrived, which the investigation determined was at 12:58 PM,
   approximately 6 minutes after CO MILLAR entered the room. During that 6-minute interval, CO
   MILLAR warned the other officers that ROTHE was urinating and suggested that they step away. He
   also stated “I’ve got[ROTHE]. He’s not moving” in response to Cpl. COSGRO asking whether he
   needed assistance in retraining ROTHE. After ROTHE was moved to the four-points restraint room,
   CO MILLAR was observed on camera “bicycling” ROTHE’s legs, or pumping them rapidly in a
   circular fashion, in an apparent effort to revive him, and acting frantic and panicked to such a degree
   that he was eventually removed from the room by a senior officer. When that occurred, CO MILLAR
   was then seen on camera kicking the stretcher used to move ROTHE,as well as striking a door with a
   closed fist.


36.Based on the forgoing infoimation and my training and experience, I believe that CoiTections Officer
   Matthew MILLAR(DOB: 11/11/1984) did, on April 29, 2023, at approximately 12:55 PM,
   asphyxiate and kill Jason ROTHE                       |. Based upon die foregoing information (and
   upon my personal knowledge), there is Probable Cause to believe that on April 29, 2023, Matthew
   MILLAR(DOB: 11/11/1984) did commit the crime of Reckless Second Degree Murder, contrary to
   RSA 630:1-b,(b) in that he did recklessly cause the death of Jason ROTHE under circumstances
   manifesting an extreme indifference to the value of human life, to wit: by asphyxiating him through
   the mechanism of constant pressure on ROTHE’s upper-back and neck area utilizing his knee while
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ROTHE was handcuffed behind his back in the prone position, in direct contradiction with the
training that MILLAR received from the New Hampshire Department of Corrections as well as the
common sense and judgement of a reasonable person.
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                                       UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW HAMPSHIRE


        William Soler Justice Pro se

       Plaintiff(s)

                      V.                                                   Case No. 1:20-CV-00517-PB

       Christopher T. Sununu. et al.
       Defendant(s)


        MOTION TO/FOR injunction to prevent placing civilly committed in SPU



       PLAINTIFF REQUESTS TO REINSERT request for injunction to prevent the state of NH from
        placing civilly committed non-convicted patients in NHDOC SPU. At the time of the R&R Plaintiff
        believed his Conditional Discharge(CD) would expire, however the state of NH has renewed the CD.


       It has become public that NH has no competency restoration. Therefore this issue is capable of
       repetition yet evading review. Plaintiff at anytime in the next 4 years can be returned to SPU, despite
       the lack of any program to restore his competency. The recent charging of a corrections officer with
       the murder of a patient in SPU clearly shows it is unsafe, inadequate and not therapeutic


       Wherefore plaintiff prays the injunction request be reinstated to this lawsuit..

       Date:02/12/2023


                                           'jU
       Signature




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                                             MEMORANDUM OF LAW

Pursuant to LR 7.1(a)(2), every motion shall be accompanied by a memorandum with citations to supporting authorities or a
statement explaining why a memorandum is unnecessary.


EUl have attached a supporting memorandum of law to thismotion.

a Ibelow).
    have NOT attached a memorandum of law because none is required (explain your reasoning




                                            CONCURRENCES SOUGHT

Pursuant to LR 7.1(c), any party filing a motion other than a dispositive motion (a dispositive motion seeks an order
disposing of one or more claims in favor ofthe moving party, for example, a motion to dismiss or a motion for summary
judgment) shall certify to the court that a good faith attempt has been made to obtain concurrence/agreement in the relief
sought. If concurrence is obtained, the moving party shall so note.

I certify the following (choose one):

EUaII parties have assented/agreed to thismotion.


□ from
  I made a good faith attempt, but was unable to successfully obtain concurrence/agreement
       all parties.

Bl have NOT attempted to obtain concurrence/agreement because it is notrequired.


                                            CERTIFICATE OF SERVICE


I hereby certify that this motion was served on the following persons on the date and in the manner
specified below:

Person(s) served electronically (via ECF):




Person(s) served by mail. Please include
address(es):
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Person(s) served by hand:




Date of Service:

                                           Signature:

                                           Name:

                                           Address:




                                           Phone:

                                            Email:
